Case 1:16-cv-00566-WES-LDA Document 1 Filed 10/14/16 Page 1 of 10 Page|D #: 1

IN THE UNITED STATES DISTRICT CoURT r_
FOR THE DISTPJCT oF RHODE ISLAND

 

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(Write the full name of each plaintijj”who is filing
this complaint If the names of all the plaintijj’s
cannot fit in the space above, please write "see
attached ” in the space and attach an additional

page with the full list of names )

-against-

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T‘D~fo`v wl wm <4`/\?¢:.
L./LL l'T 14 /A< Kd §o 'lD/;T? ('TDI¥»'/¢>)ER
(Write the full name of each defendant who is
being sued. 17 the names of all the defendants

cannot fit in the space above, please write "see
attached ” in the space and attach an additional

page with the full list of names )

 

 

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Complainf fonse:§i¥§lz€es§m~

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Case No.
(to be filled in by the Clerk’s Ojj‘ice)

 

Jury Trial: E/Yes l:\ NO
( check one )

 

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I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed

Name ®\QQ(+` `D/.>r\/t; neil \)\)\ \ CCJ)(
Street Address l BC\ DCZ>C?)-' vO 0 C>é `§l"
City and County ":l:`/Z“ L \'? \\)r/;l\/`€\/\ j "l%"`p\ gz'c`@\

 

 

 

State and Zip Code Vl’\ )3;~ C>Sj ( 04
Telephone Number ‘;`O<é " Cl O\ g l ` l 54
E-mail Address "\

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
Whether the defendant is an individual, a government agency, an organization, or
a corporation For an individual defendant, include the person’S job or title (if
knoWn). Attach additional pages if needed.

Defendant No. l

 

 

 

 

 

 

 

 

 

 

Name \/ /f\` … <:.
Job or Title \/<+K\\~ c>~\/\_ /-\`er/QZ&§~.\ W\ ~€<§ 1 €w\l Q€ vv\*“€\
(if known) b _ ‘
Street Address % 05© C l`\f/>~l `(£ "`?"l;`Ol/\'€' (A \/`€"
oily and county `F>\P<>\/‘\ é ~@-A./\ Q¢Q, 1 ‘T'>ro \/ t c\ w C’~€J
State and Zip Code Rt 3:\ '®,"‘;\Q\ 01
Telephone Number
E-mail Address
(if known)
Defendant No. 2 m
Name \_m.,/s L,»“"t\/\ /»)¢ \<' o ad 'P/>.T`t
Job or Title ’€: R D OCAT>;\" \/’Fs \/V\C,
(if known) .
Street Address <{\>3 9 C\;l/d`\ 'K§'H\’\~Q', _)A<\//EL
City and County @W \/i el Q~/\C; ~<, (\O\)`<;>\/\ <;\@v\,(: ga

 

 

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State and Zip Code \? a »-1-¢ 0 2 @\ O <Z

Telephone Number

E-mail Address
(if known)

 

 

 

Defendant No. 3

Name

lob or Title

(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

 

 

 

 

 

 

 

Defendant No. 4

Name

Job or Title

(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

 

 

 

 

 

 

 

- II. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court1 cases involving a federal question and cases
involving diversity of citizenship of the parties Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
case. ln a diversity of citizenship case, no defendant may be a citizen of the same State
as any plaintiff

 

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What is the basis for federal court jurisdiction? (check all that apply)

d Federal question 13 Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A.

If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.

 

 

 

If the Basis for Jurisdiction Is Diversity of Citizenship
l. The Plaintiff(s)
a. . lf the plaintiff is an individual

The plaintiff, (name) , is a citizen of
the State of (name)

 

 

b. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated
under the laws of the State of (name) ,
and has its principal place of business in the State of (name)

 

 

 

(If more than one plaintiff is named in the complaint attach an additional
page providing the same information for each additional plaintiff )

2. The Defendant(s)

 

a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) ` . Or is a citizen of

 

O‘oreign nation)

 

 

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b. If the defendant is a corporation

The defendant, (name) , is
incorporated under the laws of the State of (name)

, and has its principal place of
business in the State of (name) . Or is
incorporated under the laws of (foreign nation)

, and has its principal place of

 

 

 

 

business in (name)

 

(If more than one defendant is named in the complaint attach an
additional page providing the same information for each additional
defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant
owes or the amount at stake_is more than $75,000, not counting interest
and costs of court, because (explain):

 

 

 

III. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff s rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph Attach
additional pages if needed.

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IV.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. lnclude any basis for claiming that the wrongs
alleged are continuing at the present time. lnclude the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. lnclude any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages

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"T\@_, we¢‘;i’ 61 \/\/\\l¢ \;i€~<:'.¢, /l“l.:; W\~(,<,\l\.€.‘o\.ie)é\/\ 0\\)`; ‘DWQ‘“/\°T, "“\ W/\‘Z
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Certif"lcation and Closing

Under Federal Rule of Civil Procedure ll, by signing below, l certify to the best of my
knowledge, information, and belief that this complaint (l) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule ll.

A. l For Parties Without an Attorney

l agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. l understand that my failure to keep a current
address on file with the Clerk’s Offrce may result in the dismissal of my case.

Date of signing: la " Ij , 20&
Signature of Plaintiff (\?‘c,\:»€~€"§§’ ® , \,Q) 1 \ C.u)e
Printed Name of Plaintiff :_Rcl') € WJF' ‘TDA v\ \4<\ w t l<l‘y`)(

B. For Attorneys

Date of signing: , 20_

 

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Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Address

Telephone Number
E-mail Address

 

 

 

 

 

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CONT[NUATION PAGES
The Defendant(s) - Continuation

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 5

Name

Job or Title

(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

 

 

 

 

 

 

 

Defendant No. 6

Name

Job or Title

(if known)
Street Address
City and County

 

 

 

 

Defendant No. 7

Name

Job or Title

(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E~mail Address
(if known)

 

 

 

 

 

 

 

 

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Defendant No. 8

Name

Job or Title

(if known)
Street Address
City and County

 

 

 

 

Statement of Claim - Continuation

Write a short and plain statement of the claim. Do not make legal arguments State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiffs rights, including the dates and places
of that involvement or conduct. lf more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph Attach
additional pages if needed.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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